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AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Judgment in a Criminal Case
                             V.
                         Amanda Jackson                               (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 1:09CR03078-002JB
                                                                      USM Number: 54201-051
                                                                      Defense Attorney: Kari Converse, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) S1 and S8 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                        Offense Ended              Count
                                                                                                                      Number(s)
21 U.S.C. Sec.      Conspiracy to Violate 21 U.S.C. Sec. 841(1)/(b)(1)(C)                  05/21/2009                 S1
846

21 U.S.C. Sec.      Use of a Telephone to Facilitate a Drug Trafficking Offense            05/21/2009                 S8
843(b)

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
d    Count dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      May 13, 2011
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      August 7, 2011
                                                                      Date Signed
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AO 245B (Rev. 12/10) - Sheet 4 - Probation                                                                                            Judgment - Page 2 of 5


Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB


                                                                   PROBATION

The defendant is hereby sentenced to probation for a term of :4 years.

A term of 4 years is imposed as to each Count S1 and S8; said terms shall run concurrently for a total term of 4 years.

The Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines with other sentencing
goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable category of offense
committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is appropriate for this
sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court has considered the
kind of sentence and range established by the Guidelines. The Court believes that a sentence of 4 years probation reflects the
seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence, protects the
public and effectively provides the Defendant with needed education or vocational training and medical care, and otherwise fully
reflects each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable. The Court
believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing Reform
Act.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined by
the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution, it is a condition of probation that the defendant pay in accordance with the Criminal Monetary Penalties
sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                  STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
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13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characterisics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
      with such notification requirement;
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AO 245B (Rev. 12/10) Sheet 3                                                                   Judgment - Page 4 of 5


Defendant: Amanda Jackson
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                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant must participate in and successfully complete location monitoring for a period of 8 months
in the location monitoring program with the Radio Frequency (RF) technology under the home detention
component. The defendant may be required to pay a portion or all costs of such program.

The defendant shall not possess, have under her control, or have access to any firearm, ammunition, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

The defendant must submit to a search of her person, property, or automobile under her control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting illegal drugs, drug
paraphernalia, or other contraband at the direction of the probation officer. She must inform any residents
that the premises may be subject to a search.

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants. She must
not frequent places where alcohol is the primary item for sale.

The defendant shall have no contact with the co-defendants in this case.

As to the following standard condition, it shall not apply to employers: as directed by the probation officer,
the defendant shall notify third parties of risks that may be occasioned by the defendant`s criminal record
or personal history or characteristics and shall permit the probation officer to make such notifications and
to confirm the defendant`s compliance with such notification requirements.

The Defendant must participate in and successfully complete a substance abuse treatment program which
may include drug testing or outpatient counseling. The defendant is prohibited from obstructing or attempting
to obstruct or tamper, in any fashion, with the collection, efficiency and accuracy of any substance testing
device or procedure. The Defendant may be required to pay a portion of the cost of treatment and/or drug
testing as determined by the Probation Office.

The Defendant must participate in and successfully complete a mental health treatment program, which
may include outpatient counseling as approved by the probation officer. The defendant may be required
to pay a portion of the cost of this treatment as determined by the Probation Office.
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AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 5 of 5


Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB


                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
c        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $waived                           $0.00                            $0.00


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       d In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
